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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  INVERSIONES YV3343, S.A.,

         Plaintiff,
                                                                        Case No.
  v.

  LYNX FBO FORT LAUDERDALE, LLC,

        Defendant.
  ____________________________________/

                                            COMPLAINT

        COMES NOW Plaintiff, INVERSIONES YV3343, S.A., by and through undersigned

 counsel, and hereby sues Defendant, LYNX FBO FORT LAUDERDALE, LLC, for negligence

 resulting from Defendant’s breach of duty, which as a direct and proximate cause of Plaintiff’s

 injury and loss of its corporate aircraft, and in support thereof states and prays as follows:

                                       GENERAL ALLEGATIONS

        1.      Plaintiff, INVERSIONES YV3343, S.A, is a foreign corporation organized under

 the laws of the government of Venezuela, and is in good standing.

        2.      Defendant, LYNX FBO FORT LAUDERDALE, LLC (hereinafter “Lynx”) is a

 foreign corporation organized under the laws of the State of Delaware, doing business in Ft.

 Lauderdale, Florida and registered to do business in Florida under certificate M18000011239.

                                      JURISDICTION AND VENUE

        3.      This court has jurisdiction based on diversity of citizenship, 28 U.S. Code § 1332.

        4.      Venue is proper because all acts and events occurred in Ft. Lauderdale, Florida,

 within the Southern District of Florida.




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                                     SPECIFIC ALLEGATIONS

          5.       Plaintiff is the owner of certain Lear Gates Jet Model 51 serial No. 51-013 and

 registered as YV3343 (the “corporate jet”). See attached Exhibit “A.”

          6.       Defendant operates a fix-based general aviation service out of the Fort Lauderdale

 Executive Airport (“FXE”). Defendant represents to the community that it provides corporate jet

 services while excelling in “safety and customer service,” with “a proven and talented leadership

 team.”

          7.       Pursuant to an agreement between the parties, Defendant held the the corporate jet

 in its care, custody and control, for the benefit of Plaintiff.

          8.       On or about early December 2020, while under the care, custody and control of

 Defendant, Defendant, without authorization from Plaintiff, provided access and tender of the

 corporate jet to an individual unknown to Plaintiff, who removed it from the secure ramp

 maintained by Defendant.

          9.       It is believed the that the unknown individual removed the corporate jet from

 Defendant’s care, custody and control under the false pretense that he had purchased the aircraft

 from Plaintiff.

          10.      Defendant failed to contact Plaintiff and/or it’s representative regarding the

 unknown individual to inquire about and/or confirm the purported sale/purchase of the corporate

 jet.

          11.      Defendant provided access and tender of the corporate jet to an individual unknown

 to the Plaintiff without a directive from the Plaintiff, a court order, or any verifiable documentation.

          12.      As a result of Defendant’s failure to inquire and/or contact Plaintiff, the corporate

 jet was stolen from its secure location while in Defendant’s possession, and therefore Plaintiff has

 been damaged.


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         13.     Plaintiff has retained undersigned counsel and agreed to pay for legal fees and costs

 associated with bringing the instant claim for relief.

                                                   COUNT I
                                                   Negligence

         14.     Plaintiff re-avers all preceding paragraphs and further states:

         15.     Defendant owed a duty of care to Plaintiff to guard and secure the corporate jet, for

 Plaintiff’s benefit.

         16.     Defendant breached that duty by allowing an unknown individual to remove and

 take possession of the corporate jet.

         17.     As a direct and proximate cause of Defendant’s actions, Plaintiff has lost possession

 of the corporate jet and therefore has been damaged.

                                                 JURY TRIAL

         18.      Pursuant to Fed.R.Civ.P Rule (3b) Plaintiff seeks a trial by jury of all issues triable.

         WHEREFORE, Plaintiff respectfully pray to this Honorable Court entered a Final

 Judgment against Defendant, and in favor of Plaintiff for A) an amount of not less than

 $800,000.00; B) an amount for the loss of usage according to proof; C) attorney fees and costs;

 and D) any other relief deem just and proper.

         Dated: January 26, 2021.

                                                 Respectfully submitted,

                                                 PALOMARES-STARBUCK & ASSOCIATES
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